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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN



BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA INDIANS
OF THE BAD RIVER RESERVATION

                         Plaintiff,
      v.

ENBRIDGE ENERGY COMPANY, INC., and
ENBRIDGE ENERGY, L.P.                      Case No. 3:19-cv-00602

                         Defendants.



ENBRIDGE ENERGY, L.P.                      Judge William M. Conley
                                           Magistrate Judge Stephen Crocker
                  Counter-Plaintiff,

      v.

BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA INDIANS
OF THE BAD RIVER RESERVATION and
NAOMI TILLISON, in her official capacity

                  Counter-Defendants.



   DEFENDANTS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF
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       Defendants (collectively, “Enbridge”) respectfully move for leave to file a Supplemental

Brief in Support of its Motion for Partial Summary Judgment (Dkts. 230, 231) and in Opposition

to Plaintiff’s Motion for Partial Summary Judgment (Dkt. 207). The proposed Supplemental Brief

is being filed contemporaneously with this motion.

       Enbridge seeks to include in the record a new and important development. On August 29,

2022, the Government of Canada formally invoked the dispute resolution provisions of Article IX

of the 1977 Transit Treaty with the United States. See Statement by the Honourable Mélanie Joly,

Canada’s Minister of Foreign Affairs (attached as Exhibit A to Supplemental Brief). As the

Government of Canada explains, Article IX is being invoked in direct response to the current

litigation and Plaintiff’s efforts to shutdown Line 5. See id. Article IX is the process that the

United States and Canada selected for resolving disputes “over the [Treaty’s] interpretation,

application, or operation”—including any measures to impede the transmission of hydrocarbons

in transit pipelines such as Line 5. Articles II and IX of the Transit Treaty, 1997 WL 181731. This

new development supports Enbridge’s arguments that Plaintiff’s requests for ejectment of Line 5

and for injunctive relief are precluded as a matter of law. Dkt. 231 at 13-18; Dk. 207 at 109-115.

Accordingly, Defendants respectfully request leave to file a short Supplemental Brief, explaining

how this important development further supports Enbridge’s arguments.

       Enbridge has contacted counsel for Plaintiff regarding this motion for leave. Plaintiff does

not oppose this motion and represented that it intends to respond to Enbridge’s supplemental brief.

       WHEREFORE, Defendants respectfully request that the Court enter an order granting this

Motion for Leave to file the Supplemental Brief.

Dated this 29th day of August, 2022                  Respectfully submitted,


 /s/ David H. Coburn                                 /s/ Justin B. Nemeroff

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                       Counsel for Enbridge Energy Company, Inc., and
                           Enbridge Energy, Limited Partnership

                                   CERTIFICATE OF SERVICE

       I certify that on August 29, 2022, I served the foregoing document on all counsel of
record using the Court’s ECF system.

                                            /s/ Justin B. Nemeroff




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